 Case 18-11840       Doc 45 Filed 07/25/18 Entered 07/25/18 11:59:15 Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MASSACHUSETTS

In Re:
                                                        Case No. 18-11840-MSH
KAREN R. MERRITT,                                            (Chapter 13)
DEBTOR

  MOTION FOR RECONSIDERATION OF MOTION FOR EXPEDITED HEARING AND
              APPROVAL OF SHORTENED OBJECTION PERIOD

                          (Request for Expedited Determination)

         To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

         NOW COMES PENSCO Trust Company Custodian, f/b/o James P. Tiernan IRA

(“Tiernan IRA”), and PENSCO Trust Company Custodian, f/b/o Richard J. Fagan (“Fagan

IRA”), secured creditors in the above-captioned bankruptcy case (collectively “the IRAs”),

and respectfully request this Honorable Court to reconsider its denial of the IRAs Motion

for Expedited Hearing Approval of Shortened Objection Period (“the Motion”) (See Docket

No. 43). The IRAs contend, most respectfully, that the initial decision was “manifestly

unjust” and that the Court should reconsider and allow the Motion. See Nunes v. Ashcroft,

348 F.3d 815, 815 (9th Cir. 2003).

         IN SUPPORT of this Motion, the IRAs state as follows:

         1.    In denying the Motion, the Court stated as follows:

               “THERE APPEARS TO BE NO CONNECTION BETWEEN THE RELIEF
               REQUESTED IN THE STAY RELIEF MOTION (NAMELY TO COMMENCE
               AND/OR CONTINUE FORECLOSURE AND EVICTION PROCEEDINGS)
               AND THE CONCERNS RAISED IN THIS MOTION.”

         2.    By way of this Motion, the IRAs reemphasize and underscore that there is

clearly a connection between the relief requested, i.e., the need to move up the hearing

date on the IRAs Motion for Relief from Automatic Stay and Co-Debtor Stay (“Motion for

Relief”) a mere two to three weeks, and the relief sought by the Motion for Relief.

         3.    Succinctly stated, the property which the IRAs seek relief from both
